                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 DIGITAL MEDIA SOLUTIONS, LLC                 )      CASE NO. 1:19-cv-145
                                              )
                        Plaintiff,            )
                                              )      JUDGE DAN AARON POLSTER
 v.                                           )
                                              )
 SOUTH UNIVERSITY OF OHIO, LLC,               )
 et al.                                       )
                                              )      NOTICE OF APPEARANCE
                        Defendants.           )

       The undersigned enter their Notice of Appearance on behalf of certain named individuals,

Emmanuel Dunagan, Jessica Muscari, Robert J. Infusino and Stephanie Porreca, as well as the

class of similarly situated persons, Plaintiffs in an action pending in the Circuit Court of Cook

County, Illinois, Department – Chancery Division, Dunagan et al. v. Illinois Institute of Art-

Chicago, LLC, et al., Case No. 2018 CH15216. A copy of the Complaint is attached hereto.

       Movants are interested parties insofar as the immediate relief of a restraining order affects

their claims and the lawsuit they commenced, yet they are not a party to the action.

       WHEREFORE, the Court, the Clerk of Court and the parties will please take notice of this

entry of appearance.

                                               /s/ Richard S. Gurbst
                                               Richard S. Gurbst (Bar # 0017672)
                                               Eleanor M. Hagan (Bar # 0091852)
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** Pro Hac Vice Motions Forthcoming

Counsel for Interested Parties,
Emmanuel Dunagan, Jessica Muscari,
Robert J. Infusino and Stephanie Porreca




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                                 CERTIFICATE OF SERVICE


       It is hereby certified that a copy of the foregoing Notice of Appearance was served upon

all parties of record by the Court’s electronic filing system this 28th day of January, 2019.



                                                      /s/ Richard S. Gurbst
                                                      Richard S. Gurbst
                                                      One of the Attorneys for Interested Parties




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